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        ORDERED that David A. O’Neil, Anna A. Moody, and Edward D. Hassi shall abide by

the disciplinary rules of this Court; and it is further

        ORDERED that David A. O’Neil, Anna A. Moody, and Edward D. Hassi shall, for the

duration of the time that they serve as counsel pro hac vice in this matter, each make annual

payments to the New Jersey Lawyers’ Fund for Client Protection as provided by New Jersey

Court Rule 1:28-2(a) and shall each pay the sum of $250.00 to the Clerk of the United States

District Court in accordance with Local Civil Rule 101.1(c)(3); and it is further

        ORDERED that David A. O’Neil, Anna A. Moody, and Edward D. Hassi shall notify the

Court immediately of any disciplinary matter affecting their standing at the bar of any

jurisdiction; and it is further

        ORDERED that David A. O’Neil, Anna A. Moody, and Edward D. Hassi shall have all

pleadings, briefs and other papers filed with the Court in this matter signed by Liza M. Walsh or

her partners or associates as the attorneys of record in this matter pursuant to Local Civil Rule

101.1(c)(3).




                                                  HON. LEDA DUNN WETTRE, U.S.M.J.
